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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: PROCESSED EGG PRODUCTS
ANTITRUST LITIGATION
                                                                  MDLNo.2002
                                                                  08-md-2002


THIS DOCUMENT APPLIES TO:
ALL DIRECT PURCHASER ACTIONS

                                            ORDER

       AND NOW,     thi~y          of July, 2013, having considered Direct Purchaser Plaintiffs'

Motion to Pay Costs of Settlement Administration (Docket No. 823), to which no objections

have been filed, it is hereby ORDERED that the Motion is GRANTED. It is further ORDERED

that $234,823.00 of the Moark Settlement Fund shall be distributed to the Garden City Group for

the payment of costs associated with settlement administration.
